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                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND

 VELMA M. MELTON,
                                     Plaintiff,
                vs.
                                                      Case No. 8:19-cv-00209-TDC
 SELECT PORTFOLIO SERVICING,
 INC. et al.,
                      Defendants.




      MEMORANDUM IN SUPPORT SELECT PORTFOLIO SERVICING, INC.’S
                MOTION FOR A PROTECTIVE ORDER

       Plaintiff served a notice of deposition on Defendant Select Portfolio Servicing, Inc.

(“SPS”) pursuant to Fed. R. Civ. P. 30(b)(6) identifying ninety-four discrete topics and requesting

that SPS produce eighteen categories of related documents (the “Notice”). (See Not. of Dep.,

attached as Exhibit A.) The Notice states that the deposition will take a minimum of two days and

will extend to a third if necessary. (See id.) This is a straightforward action alleging one cause of

action against SPS for violation of the Fair Credit Reporting Act (“FRCA”) and a state-law

defamation claim premised on the same facts as those supporting the FCRA claim. Plaintiff’s

Notice is designed to be unduly burdensome and harassing. Therefore, SPS respectfully requests

that the Court enter a protective order limiting the length of the deposition to one (1) day of seven

(7) hours and the scope of the corporate designee deposition to matters that are relevant,

proportional to the needs of the case, and properly discoverable.

       Certification Pursuant to Fed. R. Civ. P. 26(c) and L.R. 104.7

       By letter dated September 18, 2019, undersigned counsel for SPS notified counsel for

Plaintiff Velma Melton of this discovery dispute over the Notice and intent to file a Motion for

Protective Order. (See Letter dated September 18, 2019; attached as Exhibit B.) The letter advised


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Plaintiff that it did not have the appropriate individual available in Salt Lake City for the three day

deposition on the dates noted (September 24, 25 and 26, 2019), but offered to have a corporate

designee travel to the Washington, D.C. area at SPS’s expense. SPS also provided four alternative

dates (September 30, October 4, October 14 or October 15, 2019) for a corporate designee

deposition consisting of one 7 hour day in Washington, D.C. (or suburban Maryland). Id. SPS

also stated that the 94 discrete deposition topics and 18 document requests were overbroad, unduly

burdensome and disproportionate to the needs of the case. As requested by counsel for Plaintiff

during a telephonic meet and confer on September 18, 2019, counsel for SPS also identified topics

for which it would agree to produce a corporate designee. (See Email string dated September 19,

2019, attached as Exhibit C.) Counsel for Plaintiff and SPS also subsequently discussed the scope

and length of the corporate designee deposition and attempted to resolve the discovery disputes

concerning the Notice in a follow up telephone conversation on September 19, 2019 at

approximately 12:45 pm. By email dated September 19, 2019, counsel for Plaintiff rejected SPS’s

proposals, necessitating the filing of this motion for a protective order as to the Notice.

                                         BACKGROUND

       As the Court acknowledged in a recent Order, “[t]he claims and defenses in this case are

relatively uncomplicated.” (Dkt. No. 66, Ltr. Order dated July 31, 2019.) Nevertheless, Plaintiff

has proceeded with discovery as though developing the necessary facts for trial requires a

Herculean effort. As to SPS alone, Plaintiff propounded twenty-four interrogatories that included

eighteen separate and discrete sub-parts, most of which were over a paragraph in length. Fed. R.

Civ. P. 33(a) (limiting parties to twenty-five interrogatories, “including all discrete subparts”).

Plaintiff also served SPS with extensive requests for production and requests to admit. Finally,

Plaintiff noticed this potentially three-day Rule 30(b)(6) deposition of SPS that is the subject of



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this Motion and (2) requested deposition dates for five other individuals under Rule 30(b)(1)

identified in SPS’s discovery production.1 As the Court’s Letter Order acknowledged, Plaintiff

has asserted that she intends to take 3-5 depositions per defendant.2

       Certification Pursuant to L.R.

       By letter dated September 18, 2019, counsel for SPS notified counsel for Plaintiff Velma

Melton of this discovery dispute and intent to file a Motion for Protective Order. (Letter dated

September 18, 2019 attached as Exhibit B.) The letter advised Plaintiff that it did not have the

appropriate individual in Salt Lake City for the deposition, but offered to have a corporate designee

travel to the area as SPS’s expense. SPS also provided four alternative dates (September 30,

October 4, October 14 or October 15, 2019) for a corporate designee deposition in Washington,

D.C. (or suburban Maryland). Id. As requested by counsel for Plaintiff during a telephone

conference on September 18, 2019, counsel for SPS also identified topics for which it would agree

to produce a corporate designee. (See Email dated September 19, 2019, a copy of which is attached

as Exhibit C.) Counsel for Plaintiff and SPS also discussed the corporate designee deposition by

telephone on September 19, 2019 at 12:45 pm. By email dated September 19, 2019, counsel for

Plaintiff rejected SPS’s proposals, necessitating the filing of this motion for a protective order as

to the Notice.




1
  SPS reserves the right to seek a protective order concerning any further deposition notices. SPS
responded top Ms. Melton’s request to schedule these depositions by letter dated September 18,
2019.
2
  As the Court also noted, considering the scheduling order only allots 25 total hours for
depositions per side, “[p]resumably, Plaintiff anticipates taking brief depositions.” (Dkt. No. 66
at 1 n.4.) Particularly so if she plans to use between 14 and 21 of her available hours solely on
SPS’s corporate representative.


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       Plaintiff’s discovery efforts have been driven by the improper goal of attempting to drive

up costs and in hopes of creating settlement leverage. Plaintiff is abusing the discovery process.

See Scotch Whiskey Ass’n v. Majestic Distilling Co., C.A. No. 88-808, 1988 WL 1091943, at *4

(D. Md. Nov. 30, 1998) (noting that discovery abuse occurs when discovery is “sought for the

improper purpose of motivating settlement, rather than finding relevant and probative evidence”).

Indeed, based on his participation in two meet and confer calls, Plaintiff’s strategy appears to be

heavily influenced by a paralegal named Thomas Alston, who is a serial FCRA filer with whom

this Court is well acquainted.3 See Alston v. Orion Portfolio Serv., LLC, No. 8:15-cv-03697-PJM,

Dkt. No. 80, pp. 4-7 (D. Md. June 11, 2019) (discussing Thomas Alston’s extensive and

troublesome history of FCRA litigation in this District); see also Best v. Fed. Nat’l Mortg. Assoc.,

8:17-cv-00314-GJH, Dkt. No 31, pp. 3-4 (D. Md. Dec. 21, 2017) (expressing concerns about Mr.

Alston’s involvement as a ghost writer in FCRA litigation).

       As detailed below, Plaintiff’s Notice is unduly burdensome, vague, overbroad, designed to

harass SPS, seeks information that is not relevant and disproportionate to the needs of the case,

and not discoverable in the first instance. For all these reasons, the Court should grant SPS’ motion

and enter a protective order limiting the length of the deposition and its scope.

                                         Applicable Law

       “All civil discovery . . . is limited in scope by Rule 26(1) in two fundamental ways.”

Virginia Dept. of Corrections v. Jordan, 921 F.3d 180, 188-89 (4th Cir. 2019). First, it must be

relevant, which, in itself, is not a high bar. Id. “Rule 26 therefore impose[s] another requirement:

discovery must also be ‘proportional to the needs of the case.’” Id. Under the proportionality



3
 The undersigned is not accusing Plaintiff’s counsel of any unethical conduct. However, Mr.
Alston’s background is relevant to the pending motion as it supports SPS’ belief that Plaintiff is
not using the discovery process for its intended purpose under the Federal Rules of Civil Procedure.
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requirement, “the simple fact that requested information is discoverable under Rule 26(a) does not

mean that discovery must be had.” CX Reinsurance Co. Ltd. v. City Homes, Inc., No. 17-1476,

2018 WL 5080944, at *2 (D. Md. Oct. 18, 2018). Instead, the Court must consider the “amount

and content of discovery sought” and “the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the parties’ resources,

the importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Id. Upon a showing of good cause to limit

discovery, the burden shifts to the party seeking the discovery to “establish that the information is

sufficiently necessary and relevant to his case to outweigh the harm of disclosure.” In re Wilson,

149 F.3d 249, 252 (4th Cir. 1998).

       The District Court has authority to refuse further discovery in a matter where the party

requesting the discovery does not adequately demonstrate how it would assist in establishing facts

that are necessary to resolve the claim. “[A] party may not merely assert that requested materials

may lead to the discovery of admissible evidence without presenting any intelligible explanation

of how that is so.” J & J Sports Prods., Inc. v. Wofford, No. 6:13-CV-02403-GRA, 2014 WL

2980250, at *2 (D.S.C. June 30, 2014) (citing Cook v. Howard, 484 F. App’x 805, 813 (4th Cir.

2012) (unpublished per curiam opinion) (describing this type of behavior as “the quintessential

fishing expedition”)).

                                            Argument

       With regard to the present Motion, SPS does not object to presenting a witness prepared to

testify on behalf of information known or reasonably available to SPS regarding credit information

furnished and investigations conducted as to Ms. Melton. However, SPS does object to the

proposed length and scope of the deposition. Many of the proposed matters of examination in the



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Notice seek information that is not relevant, is disproportionate to the needs of the case, or is not

discoverable in the first instance. Therefore, the Court should grant SPS’ Motion and limit the

deposition as detailed herein.

I.     The deposition length prescribed by Rule 30 is more than sufficient.

       At the very minimum, the deposition should be restricted to the time permitted by Rule

30(d)(1). This Rule provides that unless “otherwise stipulated or ordered by the court, a deposition

is limited to 1 day of 7 hours.” Fed. R. Civ. P. 30(d)(1). SPS has not stipulated, nor has the Court

ordered, a lengthier deposition. Although the Federal Rules permit the court to extend the time

where necessary to “fairly examine the deponent,” that is not warranted here, nor has any factual

predicate been laid. This is a simple FCRA action with “relatively uncomplicated” claims and

defenses. Plaintiff has not shown a need for an additional two days’ worth of deposition time.

Accordingly, the Court should grant SPS’s Motion and limit the Fed. R. Civ. P. 30(b)(6) deposition

to one 7 hour day.

II.    The Court should limit the scope of the deposition.

       Many of the topics listed on the Notice seek information that is simply not relevant or, even

if it was, is not proportional to the needs of the case. The Court should grant SPS protection with

regard to these improper categories of topics.

       A. A number of the “matters of examination” and document requests are vague, seek
          irrelevant information and/or information not proportionate to the needs of the
          case.

       Plaintiff’s action solely concerns claims for violation of the Fair Credit Reporting Act and

defamation due to SPS’ purported failure to sufficiently investigate a dispute and properly report

accurate information. As this Court has noted the elements of such an FCRA claim are: “(1) the

plaintiff notified the consumer reporting agency of the disputed information; (2) the consumer



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reporting agency notified the defendant furnisher of the dispute; and (3) the furnisher then failed

to investigate and modify the inaccurate information.” Meaney v. Nationstar Mortg., No. CV

TDC-16-2959, 2018 WL 1014927, at *9 (D. Md. Feb. 21, 2018); see also Richard v. Equifax, Inc.,

No. 4:14-CV-2519, 2014 WL 7335034, at *2 (S.D. Tex. Dec. 17, 2014) (noting that these are the

elements a plaintiff must meet to recover under 15 U.S.C. § 1681s–2(b)). Moreover, a defamation

claim requires the Plaintiff to prove: “(1) the defendant made a defamatory communication to a

third person; (2) that the statement was false; (3) that the defendant was at fault in communicating

the statement; and (4) that the plaintiff suffered harm.” Gomer v. Home Depot U.S.A., Inc., No.

CV GLR-16-356, 2016 WL 5791226, at *6 (D. Md. Oct. 4, 2016).

       The information sought by Plaintiff must both be relevant to these issues and proportional

to the needs of the case. Plaintiff’s topics and related document requests seek numerous categories

of information that simply have no bearing on the issues in this case. For example, the “matters

of examination” list numerous topics in the following categories:

               •   Total hours of training for various SPS personnel. (See Ex. A at
                   5, 11, 17.)

               •   The types of training and training materials given to SPS
                   personnel. (See Ex. A at 27, 35, 41, 84.)

               •   Employment and disciplinary files of SPS personnel. (See Ex.
                   A at 8, 14, 20, 34, 40.)

               •   Identities of SPS employees tasked with developing and
                   implementing its policies and procedures for customer disputes
                   and related information and its reporting systems. (See Ex. A at
                   26, 59, 75.)

               •   Information about SPS’s “loss mitigation” and loan payoff
                   departments (See Ex. A at 76, 78, 79, 80, 81.)

               •   Identities of senior SPS employees who had no direct
                   involvement in the events giving rise to Plaintiffs claims. (See
                   Ex. A at 44, 86, 87, 88.)

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               •   SPS’s corporate reaction (communications, new materials, or
                   changes in policies) as a result of resolution of various cases.
                   (See Ex. A at 28, 29, 36, 43, 92, 94.)

               •   Information and materials from entirely unrelated matters that
                   have no bearing on this case. (See Ex. A at 32, 33, 34, 38, 39,
                   91, 93.)

               •   Confidential settlement information. (See Ex. A at 37 and 42.)

       Other requests are vague, duplicative and/or overbroad:

               •   Information relating to SPS’s information technology systems and audit trail
                   systems for credit reporting (See Exh. A at 55, 56; compare with 65.)

               •   Information relating to loan accounts paid in full (See Ex. A at 73.)


       Many of the categories of document requests also involve similar irrelevant issues. For

example, the Notice demands production of documents regarding:

               •   The types of training and training materials given to SPS
                   personnel. (See Ex. A at b, g, j, n.)

               •   Policies and procedures relating to SPS’s disciplinary process
                   for employees. (See Ex. A at c, f, k, o.)

       These matters of examination and document requests have no relevance to the discrete

issues in this case. Acceptable topics might concern Plaintiff’s notice of a dispute to the CRA, the

CRA’s notice to SPS, and then SPS’s investigation of Plaintiff’s dispute and decision to modify

the information or stand by its reporting. At their heart, both of the Plaintiff’s claims distill down

to the following questions: (1) is she correct that there was an error? (2) did SPS perform a

sufficient investigation? and (3) was the continued reporting of the information false/inaccurate?

None of the topics or requests noted above have any bearing on these questions.

       Moreover, even if they had some marginal relevance, they are certainly not proportional to

the needs of this “relatively uncomplicated” case. These topics seek a considerable amount of

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discovery that would require considerable witness preparation. The burden and expense would

outweigh any marginal benefit to the Plaintiff in attempting to prove her claims. Finally, the

discovery is not important to assist in resolving the issues in the present dispute. Instead, they are

designed to be a fishing expedition into unrelated matters in an effort to increase settlement

leverage and drive up SPS’s discovery costs. Each of these factors supports that the discovery

sought is disproportionate to the needs of the case. CX Reinsurance Co. Ltd. v. City Homes, Inc.,

No. 17-1476, 2018 WL 5080944, at *2 (D. Md. Oct. 18, 2018).

        Therefore, for all these reasons, SPS is entitled to protection. The Court should grant SPS’s

Motion and issue an order protecting SPS from discovery into the matters of examination and

document requests detailed above.

        B. Several of Plaintiff’s document requests suffer from the same deficiencies.

        SPS is also entitled to a protective order because several of the topics seek information that

is not discoverable in the first instance.

                1. Personnel files are not discoverable here.

        A number of the matters of examination seek the employment and disciplinary files of SPS

personnel. (See Ex. A at 8, 14, 20, 34, 40.) When personnel files are sought, courts in this circuit

“have balanced the importance of personal privacy and accurate employee evaluations against the

countervailing interest in broad discovery that provides each party with the information necessary

to present their complete case before the court.” Hemphill v. ARAMARK Corp., No. CIV. ELH-

12-1584, 2013 WL 1662963, at *2 (D. Md. Apr. 15, 2013). As the Hemphill court explained,

“[t]his test generally favors non-disclosure,” and personnel files “even if relevant, are only

discoverable in ‘limited circumstances,’ such as when the ‘need for disclosure is compelling

because the information sought is not otherwise readily available.’” Id. (quoting United States



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EEOC v. McCormick & Schmick’s Seafood Rests., No. DKC–11–2695, 2012 WL 3563877 (D.

Md. Aug. 16, 2012)). “In an unpublished decision, the Fourth Circuit indicated that personnel files

are discoverable if they contain information relevant to the subject matter of a case and the need

for the information outweighs the fileholders’ privacy interests.” McCormick & Schmick’s, 2012

WL 3563877, at *4 (citing Kirkpatrick v. Raleigh Cnty. Bd. of Educ., No. 95–2491, 1996 WL

85122, at *2 (4th Cir. Feb. 29, 1996)).

       Here, Plaintiff has not made any effort to detail why or how any information in SPS

employee personnel files would be relevant. The employment history of SPS personnel has no

bearing on whether SPS properly investigated Plaintiff’s dispute and/or was reporting false or

inaccurate information. Certainly, Plaintiff has not shown that the need for the information

outweighs the privacy interests of the employees.          Therefore, the Court should grant SPS

protection from discovery into these matters.

               2.      The topics also improperly seek information about unrelated cases.

       Likewise, a number of the matters of examination seek information concerns unrelated

lawsuits and/or complaints filed with the Federal Trade Commission (“FTC”) and Consumer

Financial Protection Bureau (“CFPB”). (See Ex. A at 32, 33, 34, 38, 39, 91, 93.) Such information

is irrelevant to the facts of this case, and these topics are instead “more akin to a fishing expedition

in search of helpful evidence.” Clark v. Creative Hairdressers, Inc., No. 2005-0103, 2005 WL

3008511, at *16 (D. Md. Nov. 9, 2005) (holding plaintiff was not entitled to discovery into every

complaint filed against defendant in the country for every type of discrimination claim when her

claim was based on race discrimination); see also Fed. R. Evid. 403 (limiting pattern and practice

evidence to similar events).




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       As SPS noted in its response to Plaintiff’s pending motion to compel, Mr. Alston indicated

that this type of information could be utilized in developing a class action against SPS which, of

course, has nothing to do with Plaintiff’s lawsuit. Moreover, these matters of examination

improperly seek discovery into unproven allegations and for undefined “complaints” that have

nothing to do with Plaintiff’s case and are wholly irrelevant. See Mattingly v. Credit Mgmt, LP,

No. 05cv00080, 2005 WL 3271683, at *1 (D. Col. June 7, 2005) (finding discovery of other

lawsuits that were unrelated to the FCRA case before it were not relevant). Finally, the scope of

these categories is not proportionate to the needs of this case. For example, Plaintiff seeks the

identities of all persons involved the underlying facts of several unrelated cases, all lawsuits filed

against SPS since 2015 involving a FCRA claim, and all complaints filed with the FTC or CFPB

since 2015 regarding credit reporting.       Plaintiff has not demonstrated why such extensive

discovery is required in this relatively simple case. Moreover, the burden of preparing a witness

to address each and every complaint or lawsuit filed against SPS since 2015 would be “substantial

and outweighs any likely benefit.”

        Therefore, SPS is also entitled to protection from Plaintiff’s topics seeking information

about unrelated lawsuits and complaints filed against it, as this information is not relevant or

proportional to the needs of the case.




               3.      Plaintiff has not made a showing of why confidential settlement
                       information should be disclosed here.

       Two matters of examination seek confidential settlement information—specifically dollar

figure settlement amounts—from prior, unrelated cases. (See Ex. A at 37 and 42.) Plaintiff has

not made any effort to explain the relevance of this information, and it appears to be nothing more

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than an effort to obtain insight into SPS’ legal strategy and its valuation of FCRA cases for leverage

in settlement negotiations in the present matter. This Court should not permit this inappropriate

discovery. In fact, as SPS noted in its response to Plaintiff’s pending motion to compel, Plaintiff

herself has taken the position that SPS and the CRAs cannot be liable for one another’s conduct

and, therefore, she has refused to produce any of the settlement agreements she has entered into

with the CRAs. (See Letter from Kevin Williams dated July 20, 2019, copy attached as Exhibit

D.) Plaintiff should be held to her own standard.

       Furthermore, this information is not discoverable absent Plaintiff meeting a heightened

burden, which she has not done. Confidential settlements “benefit society and the parties involved

by resolving disputes relatively quickly, with slight judicial intervention, and presumably result in

greater satisfaction to the parties,” and “[t]he secrecy of a settlement agreement and the contractual

rights of the parties thereunder deserve court protection.” Kalinauskas v. Wong, 151 F.R.D. 363,

365 (D. Nev. 1993). “Although Rule 408 does not bar the discovery of information related to

settlement negotiations, the majority of courts require the moving party to satisfy a heightened

standard of proof before granting the discovery of confidential settlement material.” In re Blue

Water Land Dev., LLC, No. 08-00842-8-JRL, 2008 WL 4186895, at *1 (Bankr. E.D.N.C. Sept. 4,

2008) (emphasis added); see also Equal Rights Ctr. v. Archstone–Smith Trust, 2008 WL 2717762

(D. Md. 2008) (finding that the party seeking discovery “failed to establish how a wholesale

exploration of the settlement process . . . falls within the scope of permissible discovery,” and that

the court was unwilling to “open the gate to expansive and costly discovery in the absence of a

specifically articulated bases for disclosure” (emphasis added)). Therefore, although the Fourth

Circuit has not recognized a settlement “privilege,” see Phillips v. Ottey, No. CV DKC 14-0980,

2016 WL 6582647, at *3 n.4 (D. Md. Nov. 7, 2016), Plaintiff must still show some particularized



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basis for disclosure, which she has not done. Thus, SPS is entitled to protection from discovery

into these matters as well.

               4.      Net worth information is not discoverable at this juncture and “pretax
                       profits” are not discoverable at all.

       Finally, Plaintiff improperly seeks information regarding SPS’ net worth and “pretax

profits” for the four previous years. Although net worth information may be relevant at some

point, courts have recognized that “it might be appropriate to prohibit discovery as to the

defendant’s net worth until a decision has been rendered on a motion for summary judgment as to

whether the punitive damage issue will go to trial.” Tiller v. Hobart Corp., 58 F. Supp. 2d 688,

691 (W.D. Va. 1999); Tharpe v. Lawidjaja, No. 6:12-CV-0039, 2013 WL 12319912, at *2 (W.D.

Va. Oct. 22, 2013) (finding that discovery as to net worth may be had if the punitive damages

claim survives summary judgment); Moore v. DAN Holdings, Inc., No. 1:12CV503, 2013 WL

1833557, at *14 (M.D.N.C. Apr. 30, 2013) (discovery of net worth information should not be

permitted until the plaintiff has demonstrated some factual basis for its punitive damages claim

and, as a result, courts have declined to compel discovery of financial information until the

defendant has an opportunity to file a dispositive as to punitive damages). “The ease with which

claims for punitive damages can be asserted makes it apparent that such claims may result in abuse

and harassment if their mere assertion entitles plaintiffs to financial discovery.” Moore, 2013

WL 1833557, at *14 (quoting Moran v. International Playtex, Inc., 103 A.D.2d 375, 377, 480

N.Y.S.2d 6, 8 (N.Y. App. Div., 2d Dep’t 1984)) (emphasis added).

       SPS intends to pursue a motion for summary judgment on punitive damages, and is

confident that the Court will agree that this is not a punitive damages case. Plaintiff should only

be permitted to discover net worth information of SPS if the claim for punitive damages survives

the dispositive motions stage. The Court should, therefore, grant protection at this juncture.

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       Finally, pretax profits—i.e., gross income—are not discoverable at all. See Saunders v.

BB&T, 526 F.3d 142, 154 (4th Cir. 2008) (gathering cases stating that net worth, not net income,

can be relevant to punitive damages). Thus, the Court should grant SPS protection from discovery

into SPS’ pretax profits.

                                        CONCLUSION

       For the foregoing reasons, the Court should grant SPS’ motion for a protective order and

limit the length and scope of SPS’ 30(b)(6) deposition as detailed herein.

                                             Respectfully submitted,
September 19, 2019
                                                    /s/ Mary S. Diemer
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